Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 1 of 114




              EXHIBIT A
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 2 of 114




                                                           EXHIBIT A
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 3 of 114




                                                           EXHIBIT A
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 4 of 114




                                                           EXHIBIT A
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 5 of 114




                                                           EXHIBIT A
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 6 of 114




                                                           EXHIBIT A
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 7 of 114




                                                           EXHIBIT A
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 8 of 114




                                                           EXHIBIT A
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 9 of 114




                                                           EXHIBIT A
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 10 of 114




                                                           EXHIBIT A
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 11 of 114




                                                           EXHIBIT A
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 12 of 114




                                                           EXHIBIT A
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 13 of 114




                                                           EXHIBIT A
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 14 of 114




                                                           EXHIBIT A
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 15 of 114




                                                           EXHIBIT A
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 16 of 114




                                                           EXHIBIT A
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 17 of 114




                                                           EXHIBIT A
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 18 of 114




                                                           EXHIBIT A
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 19 of 114




                                                           EXHIBIT A
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 20 of 114




                                                           EXHIBIT A
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 21 of 114




              EXHIBIT B
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 22 of 114




                                                           EXHIBIT B
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 23 of 114




                                                           EXHIBIT B
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 24 of 114




              EXHIBIT C
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 25 of 114




                                                           EXHIBIT C
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 26 of 114




                                                           EXHIBIT C
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 27 of 114




                                                           EXHIBIT C
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 28 of 114




                                                           EXHIBIT C
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 29 of 114




                                                           EXHIBIT C
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 30 of 114




                                                           EXHIBIT C
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 31 of 114




                                                           EXHIBIT C
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 32 of 114




                                                           EXHIBIT C
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 33 of 114




                                                           EXHIBIT C
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 34 of 114




                                                           EXHIBIT C
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 35 of 114




                                                           EXHIBIT C
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 36 of 114




                                                           EXHIBIT C
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 37 of 114




                                                           EXHIBIT C
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 38 of 114




                                                           EXHIBIT C
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 39 of 114




                                                           EXHIBIT C
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 40 of 114




                                                           EXHIBIT C
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 41 of 114




              EXHIBIT D
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 42 of 114




                                                           EXHIBIT D
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 43 of 114




                                                           EXHIBIT D
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 44 of 114




                                                           EXHIBIT D
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 45 of 114




                                                           EXHIBIT D
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 46 of 114




                                                           EXHIBIT D
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 47 of 114




              EXHIBIT E
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 48 of 114




                                                           EXHIBIT E
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 49 of 114




                                                           EXHIBIT E
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 50 of 114




                                                           EXHIBIT E
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 51 of 114




               EXHIBIT F
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 52 of 114




                                                           EXHIBIT F
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 53 of 114




                                                           EXHIBIT F
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 54 of 114




              EXHIBIT G
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 55 of 114




                                                           EXHIBIT G
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 56 of 114




                                                           EXHIBIT G
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 57 of 114




              EXHIBIT H
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 58 of 114




                                                           EXHIBIT H
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 59 of 114




                                                           EXHIBIT H
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 60 of 114




                EXHIBIT I
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 61 of 114




                                                            EXHIBIT I
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 62 of 114




                                                            EXHIBIT I
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 63 of 114




                                                            EXHIBIT I
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 64 of 114




                                                            EXHIBIT I
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 65 of 114




               EXHIBIT J
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 66 of 114




                                                            EXHIBIT J
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 67 of 114




                                                            EXHIBIT J
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 68 of 114




                                                            EXHIBIT J
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 69 of 114




              EXHIBIT K
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 70 of 114




                                                           EXHIBIT K
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 71 of 114




                                                           EXHIBIT K
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 72 of 114




                                                           EXHIBIT K
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 73 of 114




                                                           EXHIBIT K
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 74 of 114




               EXHIBIT L
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 75 of 114




                                                           EXHIBIT L
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 76 of 114




                                                           EXHIBIT L
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 77 of 114




                                                           EXHIBIT L
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 78 of 114




                                                           EXHIBIT L
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 79 of 114




                                                           EXHIBIT L
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 80 of 114




                                                           EXHIBIT L
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 81 of 114




              EXHIBIT M
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 82 of 114




                                                           EXHIBIT M
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 83 of 114




                                                           EXHIBIT M
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 84 of 114




                                                           EXHIBIT M
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 85 of 114




                                                           EXHIBIT M
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 86 of 114




                                                           EXHIBIT M
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 87 of 114




                                                           EXHIBIT M
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 88 of 114




                                                           EXHIBIT M
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 89 of 114




              EXHIBIT N
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 90 of 114




                                                           EXHIBIT N
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 91 of 114




                                                           EXHIBIT N
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 92 of 114




                                                           EXHIBIT N
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 93 of 114




              EXHIBIT O
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 94 of 114




                                                           EXHIBIT O
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 95 of 114




              EXHIBIT P
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 96 of 114




                                                           EXHIBIT P
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 97 of 114




                                                           EXHIBIT P
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 98 of 114




                                                           EXHIBIT P
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 99 of 114




              EXHIBIT Q
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 100 of 114




                                                            EXHIBIT Q
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 101 of 114




                                                            EXHIBIT Q
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 102 of 114




                                                            EXHIBIT Q
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 103 of 114




               EXHIBIT R
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 104 of 114




                                                            EXHIBIT R
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 105 of 114




                                                            EXHIBIT R
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 106 of 114




                                                            EXHIBIT R
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 107 of 114




               EXHIBIT S
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 108 of 114




                                                            EXHIBIT S
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 109 of 114




                                                            EXHIBIT S
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 110 of 114




               EXHIBIT T
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 111 of 114




                                                            EXHIBIT T
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 112 of 114




                                                            EXHIBIT T
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 113 of 114




                                                            EXHIBIT T
Case 2:19-cv-00025-JAM-AC Document 1-2 Filed 01/03/19 Page 114 of 114




                                                            EXHIBIT T
